610 F.2d 89
    79-2 USTC  P 9714
    UNITED STATES of America and Barbara A. Kilty, RichardGutierrez, Special Agents, Internal RevenueService, Petitioners-Appellees,v.DEAK-PERERA INTERNATIONAL BANKING CORPORATION, Respondent,andCharles V. Stephenson, Intervenor-Appellant.
    No. 79-6035.
    United States Court of Appeals,
    Second Circuit.Oct. 26, 1979.
    
      Richard Blumenthal, U. S. Atty., New Haven, Conn., George J. Kelly, Jr., Asst. U. S. Atty., Hartford, Conn., Dept. of Justice, Tax Division, M. Carr Ferguson, Gilbert E. Andrews, Washington, D. C., for appellee.
      Charles V. Stephenson, pro se.
      Before MULLIGAN, OAKES and NEWMAN, Circuit Judges.
    
    
      1
      Appeal from the United States District Court for the District of Connecticut.
    
    
      2
      The district court enforced two Internal Revenue summonses issued pursuant to I.R.C. § 7602, directing Deak-Perera, a financial institution, to forward documents in its possession relating to appellant Stephenson's financial status during the years 1975-1977.  The documents were necessary to determine Stephenson's income tax liability in furtherance of an I.R.A. joint civil-criminal investigation.  The day after the district court's order, Deak-Perera complied fully with the summons.  Since this was the only relief requested, there is no longer any live controversy between the parties.  We therefore dismiss the appeal as moot.  Barney v. United States, 568 F.2d 116, 117 (8th Cir. 1978); Kurshan v. Riley, 484 F.2d 952, 952-53 (4th Cir. 1973).
    
    
      3
      It is so ordered.
    
    